






In The



Court of Appeals



Ninth District of Texas at Beaumont



  ______________________ 


					

NO. 09-07-623 CR


  ______________________


	

EX PARTE RICHARD KILLGORE






On Appeal from the Criminal District Court 


Jefferson County, Texas


Trial Cause Nos. 2228 (837, 862, 946, 948)






MEMORANDUM OPINION


	On August 20, 2007, the trial court denied Richard Killgore's application for writ of
habeas corpus without conducting an evidentiary hearing or issuing the writ of habeas
corpus.  We questioned our jurisdiction over the appeal.  Killgore filed a response in which
he argues the merits of his application for writ of habeas corpus without first establishing that
the order is appealable.

	No appeal lies from the refusal to issue a writ of habeas corpus unless the trial court
rules on the merits of the application.  Ex parte Hargett, 819 S.W.2d 866 (Tex. Crim. App.
1991); Ex parte Noe, 646 S.W.2d 230 (Tex. Crim. App. 1983).  In this case, the trial court
did not address the merits of Killgore's application.  The trial court did not issue a writ of
habeas corpus, nor did the court conduct an evidentiary hearing on the application for the
writ.  Compare Ex parte Silva, 968 S.W.2d 367 (Tex. Crim. App. 1998); Ex parte
McCullough, 966 S.W.2d 529 (Tex. Crim. App. 1998).  We hold we have no jurisdiction
over this appeal.  Accordingly, we dismiss the appeal for want of jurisdiction.

	APPEAL DISMISSED.

							                                                                   

								    DAVID GAULTNEY

									   Justice								  

Opinion Delivered March 5, 2008

Do Not Publish


Before McKeithen, C.J., Gaultney and Horton, JJ.


